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                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                                   JOINT STATUS REPORT
                                                      REGARDING FACT DISCOVERY
                Plaintiffs,
  vs.
                                                     Case No: 2:23-cv-00936-AMA-CMR
  KEVIN G. LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;                             Judge Ann Marie McIff Allen
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE                         Magistrate Judge Cecilia M. Romero
  MCDOUGAL; and MARY STREET,

                Defendants.


        Defendants Kevin G. Long, Millcreek Commercial Properties, LLC, Colliers International,

 Brent Smith, Spencer Taylor, Blake McDougal and Mary Street (collectively, “Defendants”), and

 Plaintiffs Kate Grant and Karmann Kasten, LLC (collectively, “Plaintiffs”), by and through their

 respective counsel of record, submit this Joint Status Report Regarding Fact Discovery pursuant

 to the Court’s July 2, 2024 Discovery Management Order (Dkt. 79) in this case.
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          To date, the parties have exchanged Rule 26(a)(1) initial disclosures; served and responded

 to written discovery requests; and participated in the taking of five depositions. Documents and a

 deposition are also in the process of being sought through third-party subpoenas. The parties need

 to take at least four to five additional depositions, one of which is the combined deposition or

 depositions of Plaintiffs. Plaintiffs’ Short Form Discovery Motion regarding the combined

 deposition or depositions of Plaintiffs is currently pending.

          The parties are also engaged in settlement discussions and are exploring the possibility of

 reaching an amicable resolution of this case.

          The parties do not anticipate being able to complete all necessary fact discovery prior to

 the expiration of the current March 11, 2025 fact discovery cutoff. As a result, the parties will be

 filing in the near future a stipulated motion for a 60-day extension of the fact discovery cutoff.

 Since the initial Complaint in this case was filed on December 29, 2023, the parties do not believe

 that the contemplated extension of the fact discovery cutoff to approximately May 12, 2025 would

 prolong the case beyond three years from the date it was filed.

          DATED this 11th day of February, 2025.

                                                 PARR BROWN GEE & LOVELESS

                                                 By: /s/ Bentley J. Tolk
                                                   Rodger M. Burge
                                                   Terry E. Welch
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 11, 2025, I caused to be served a true and correct copy of

 the foregoing JOINT STATUS REPORT REGARDING FACT DISCOVERY via the

 CM/ECF system on all counsel of record.



                                                                        /s/ Bentley J. Tolk




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